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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA




PLAINTIFF UNDER SEAL                  No.


        v.
                                      JURY TRIAL DEMANDED
DEFENDANT UNDER SEAL




                           COMPLAINT

                      FILED IN CAMERA AND
                    UNDER SEAL PURSUANT TO
                        31 U.S.C. § 3730(b)(2)
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA




UNITED STATES OF AMERICA,               No.
    ex rel. Robert V. Smith,

         Qui Tam Plaintiff,
                                       JURY TRIAL DEMANDED

         v.


JAY A. ODOM,

         Defendant.




                              COMPLAINT

                        FILED IN CAMERA AND
                      UNDER SEAL PURSUANT TO
                          31 U.S.C. § 3730(b)(2)
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                                INTRODUCTION

      1.      Qui Tam Plaintiff Robert V. Smith brings this action on behalf of the

United States to recover treble damages and civil penalties under the False Claims

Act, 31 U.S.C. §§ 3729–33 (“FCA”) against Defendant Jay A. Odom for having

committed fraud on the United States Treasury (“Treasury”) and its Troubled Asset

Relief Program (“TARP”).

      2.      As detailed with particularity below, from 2011 through at least 2017,

Defendant concocted and executed schemes to defraud Regions Bank, a subsidiary

of Regions Financial Corporation (“Regions Bank”), and CRE/ADC Venture 2013-

1, LLC (“CRE/ADC”).

      3.      Defendant committed his fraud by deceiving Regions Bank and

CRE/ADC as to his true financial capacity to repay the loans and his relationship

with a straw man who secretly acted on his behalf in purchasing the loans. In doing

so, Defendant employed a web of corporate entities, straw men, sham transactions,

and outright falsities.

      4.      All the while, Defendant enjoyed significant profits and demonstrated

liquidity through successful business transactions with other companies that he

controlled and that he concealed from the banks.




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      5.      During the time that Defendant was carrying out this fraud, the United

States Treasury had a $3.5 billion equity interest in Regions Bank as a result of its

investment of TARP funds intended to stabilize the bank following the financial

crisis of 2008.    By submitting false statements and claims to Regions Bank,

Defendant directly defrauded the Government by causing it to receive less than it

was entitled to under the contracts at issue during that time.

      6.      Moreover, Defendant caused Regions Bank—which relied upon

Defendant’s information—to supply false statements and claims to the United

States as part of its TARP obligations.

      7.      Similarly, Defendant’s fraud upon CRE/ADC occurred at a time when

the company was organized and operated by the Federal Deposit Insurance

Corporation (“FDIC”) to service the notes and mortgages of the failed GulfSouth

Private Bank. By submitting false statements and claims to CRE/ADC, Defendant

directly defrauded the Government and caused the submission of false statements

and claims to the Government by CRE/ADC.

      8.      Accordingly, the United States is entitled to recover civil penalties

plus three times the amount of damages which the Government sustains because of

the acts of Defendant. 31 U.S.C. § 3729(a)(1).




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                                      PARTIES

      9.        Qui Tam Plaintiff Robert V. Smith is a citizen of the United States

and is domiciled in Florida.

      10.       On information and belief, Defendant Jay A. Odom is a resident of

Florida.

      11.       During the relevant time period, Defendant managed, served as the

sole corporate officer, and/or effectively controlled the following companies:

       (i)      Freeport 860, LLC;
       (ii)     Waters Edge Building Company;
       (iii)    HCB/Freeport Acquisition, LLC;
       (iv)     Medallion Land Holdings, LLC;
       (v)      Sterling Diversified, LLC;
       (vi)     S.O. Investments Freeport, LLC;
       (vii)    American Eagle Diversified, LLC;
       (viii)   Genre Holdings, LLC; and,
       (ix)     Crystal Beach Development Company of Northwest Florida.

      12.       As will be further described herein, Defendant used these companies

and a straw man to conceal his identity and effectuate his scheme.

                           JURISDICTION AND VENUE

      13.       This Court has subject matter jurisdiction pursuant to 28 U.S.C.

§ 1331 because this is a civil action arising under 31 U.S.C. § 3729 et seq.

      14.       This Court has personal jurisdiction under 31 U.S.C. § 3732(a)

because, inter alia, a substantial part of the events or omissions giving rise to the


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claims at issue occurred within this judicial district, and Defendant transacted

business and committed acts proscribed by the statute within this judicial district.

In addition, many witnesses with information relevant to this matter reside or

conduct business in this judicial district, and much of the evidence relevant to this

matter is located in this judicial district.

       15.     Venue is proper pursuant to 28 U.S.C. §§ 1391(b)–(c) and 31 U.S.C. §

3732(a) because a substantial part of the events or omissions giving rise to the

claims at issue occurred within this judicial district, and Defendant transacted

business and committed acts proscribed by the statute within this judicial district.

              STATUTORY AND REGULATORY FRAMEWORK

        A.     The False Claims Act

       16.     The False Claims Act provides that any person or entity that

individually, or in concert with others, knowingly presents, or causes to be

presented, a false claim for payment or approval, or a false statement that is material

to a claim for payment or approval, is liable to the United States for penalties and

treble damages.      See 31 U.S.C. §§ 3729(a)(1)(A)–(C).        The statute similarly

provides that any person who knowingly makes, uses, or causes to be made or used,

a false record or statement material to an obligation to pay or transmit money or

property to the Government, or knowingly conceals or knowingly and improperly


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avoids or decreases an obligation to pay or transmit money or property to the

Government, is liable to the United States for penalties and treble damages. See 31

U.S.C. § 3729(a)(1)(G).

      17.     “Knowingly” means that the person or entity: (i) had actual knowledge

of the information; (ii) acted in deliberate ignorance of the truth or falsity of the

information; or, (iii) acted in reckless disregard of the truth or falsity of the

information. Id. § 3729(b)(1)(A). The person need not have acted with the specific

intent to defraud the United States to be liable under the FCA. Id. § 3729(b)(1)(B).

      B.      Regions Bank, TARP, and the Capital Purchase Program

      18.     Congress created TARP in response to the financial crisis of 2008.

The legislation was intended “to immediately provide authority and facilities that . .

. the Treasury can use to restore liquidity and stability to the financial system of the

United States.” Emergency Economic Stabilization Act of 2008 (“EESA”), Div. A,

§ 2, 122 Stat. 3765.      EESA authorized Treasury, through TARP, to purchase

troubled assets from any financial institution.

      19.     EESA established the Office of Financial Stability (“OFS”) within

Treasury to administer the program. EESA required OFS to distribute TARP funds

in a manner that, among other things, preserved homeownership, promoted jobs,

promoted economic growth, maximized overall returns to the taxpayers of the


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United States, and provided public accountability for the exercise of such authority.

The Capital Purchase Program (“CPP”) is a component of TARP under which

Treasury invested capital in financial institutions in exchange for preferred stock or

debt securities.

      20.     From late 2008 through 2009, Treasury invested approximately $205

billion of CPP funds in more than 700 financial institutions nationwide.

      21.     Participation in CPP was voluntary. A financial institution wishing to

participate submitted an application to its primary federal regulator for a capital

investment of a particular amount. If the application was approved by the regulator

and was then approved by Treasury, the applicant entered into an agreement with

Treasury in which the financial institution would make numerous representations,

warranties, and recitals about, inter alia, its financial condition and intentions for

the use of the funds.

      22.     The representations contained within the financial institution’s TARP

application, and, if approved, the representations made in the stock or securities

purchase agreement between the financial institution and Treasury, were material to

Treasury’s decision to invest in the financial institution.        These statements

referenced periodic disclosures and reports that the financial institution submits to

regulators.   For banks, such reports are referred to as Call Reports or Thrift


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Financial Reports (“TFRs”) and were submitted to the Office of the Comptroller of

the Currency (“OCC”) or the FDIC.

      23.    In evaluating a TARP application and reviewing periodic disclosures,

Treasury balanced the need to provide effective assistance to the troubled financial

institution with efficient deployment of taxpayer funds. To strike that balance,

Treasury relied on the veracity of the applicant’s representations.

      24.    Regions Bank, a subsidiary of Regions Financial Corporation, was one

such bank that received funds through the TARP CPP. In 2008, Treasury purchased

approximately $3.5 billion in Regions Bank’s preferred stock under TARP.

Regions Bank remained in the TARP CPP through 2012, at which time Regions

Bank repurchased its outstanding preferred stock.

      25.    Thus, at the time Defendant committed the fraud described herein, the

United States directly owned a $3.5 billion equity interest in Regions Bank, and

Regions Bank submitted applications and statements to the Government concerning

its financial status that incorporated information from its clients, including

Defendant.

       C.    CRE/ADC Venture 2013-1, LLC

      26.    GulfSouth Private Bank was a financial institution in Destin, Florida.

On October 12, 2012, the Florida Office of Financial Regulation announced that it


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had closed GulfSouth Private Bank and appointed the Federal Deposit Insurance

Corporation as Receiver.

      27.    In October 2013, the FDIC as Receiver assigned Defendant’s note, as

described in detail below, to CRE/ADC Venture 2013-1, LLC, a Delaware limited

liability company organized by the FDIC as part of a structured transaction. FDIC

was the majority owner of CRE/ADC with an 80% interest as of at least October 17,

2013. This relationship required CRE/ADC to submit application and statements to

the Government concerning the application of Government funds.

      28.    Thus, at the time Defendant committed the fraud as described herein,

the United States owned a substantial interest in        CRE/ADC, and CRE/ADC

submitted applications and statements to the Government concerning its financial

status that incorporated information from its clients, including the Defendant.

       D.    Qui Tam Plaintiff’s Personal Knowledge

      29.    Qui Tam Plaintiff was previously involved with a company that

engaged in a joint venture with companies owned and/or operated by Defendant.

This joint venture lasted until approximately December 31, 2006.

      30.    Based upon his personal knowledge of Defendant and Defendant’s

companies, and his recognition of Defendant’s questionable practices, Qui Tam

Plaintiff began investigating Defendant’s transactions. Qui Tam Plaintiff’s unique


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familiarity with the property and debts involved through his prior business

relationship with Defendant allowed him to uncover the fraudulent schemes executed

by Defendant as described herein.

      31.      Qui Tam Plaintiff is an original source of the fraud executed by

Defendant.      The allegations are not based entirely upon publicly-disclosed

information.

                                  THE SCHEME

      32.      In 2006 and 2007, Defendant took out large loans from Regions Bank

and GulfSouth Private Bank. When GulfSouth Private Bank failed, that loan was

assigned to an entity owned largely by the FDIC and known as CRE/ADC Venture

2013-1, LLC. These loans were taken out in the names of entities controlled by

Defendant and personally guaranteed by him.             Having initially accepted

responsibility for the repayment of these loans, Defendant put together an elaborate

scheme to evade his repayment obligations.

      33.      The object of Defendant’s scheme was to force the banks to sell the

loans at a substantial discount to someone they believed to be an independent third-

party but who was, in reality, a straw man secretly acting on Defendant’s behalf.

Once Defendant had control of the loans, he would arrange to have the debts

eliminated.


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      34.    In order to induce the banks to sell the loans, Defendant needed to

convince them that he was incapable of meeting his obligations. He accomplished

this by hiding from the banks his true financial capacity.

      35.    Defendant hid this information from the banks in a number of ways. He

hid from them very lucrative endeavors in which he was involved; he caused to be

filed in the public records sham sales of properties he owned and which had been

given as security for the loans for the purpose of convincing the bank that their

security and his assets were worth less than they actually were; and he provided false

financial information to the banks on his net worth and the value of his assets.

      36.    Defendant knew that the banks could not and would not sell the loans

back to him at a substantial discount. Therefore, he engaged a straw man who,

unbeknownst to the banks, was actually acting on Defendant’s behalf. The same

straw man was used with both banks. That straw man purchased the loans at large

discounts and either immediately cancelled the debts or quickly transferred them to

entities controlled by Defendant so that the debts could be promptly extinguished. In

this way, Defendant evaded over $5 million in debt obligations to Regions Bank and

over $1 million in debt obligations to CRE/ADC.




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      37.   Because the United States had a $3.5 billion equity interest in Regions

Bank and majority ownership in CRE/ADC, Defendant’s frauds fall within the

purview of the False Claims Act.

      SPECIFIC ALLEGATIONS AS TO FRAUD ON REGIONS BANK

       A.   Origination of the Regions Bank Note and Mortgage

      38.   On May 10, 2006, Freeport 860, LLC and Bay Loop Land Company,

Inc. executed a note and mortgage with Regions Bank for a principal sum of

$12,229,428.

      39.   The purpose of this mortgage was to purchase and fund portions of a

large-scale housing development in Walton County, Florida, known as Hammock

Bay. This included construction of (i) 106 lots at Whispers at Hammock Bay; (ii)

125 lots at Passages at Hammock Bay; and, (iii) the Lake Club and Fitness Center

and two swimming pools at Hammock Bay.

      40.   The collateralized land for the note consisted of approximately 98 acres

of Hammock Bay property.

      41.   Also on May 10, 2006, Defendant personally executed an unconditional

personal guaranty on the Regions note.

      42.   At that time, Freeport 860, LLC’s two Managing Members were

Waters Edge Building Company and Bay Loop Land Company, Inc.


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       43.    Defendant fully controlled Waters Edge Building Company as its

President, Secretary, and Director.

       44.    Defendant did not, however, fully control Bay Loop Land Company,

Inc. That entity’s President was George Smith, and its Treasurer was the Qui Tam

Plaintiff.

       45.    However, after December 31, 2006, Bay Loop Land Company, Inc.

was removed as a Managing Member of Freeport 860, LLC and released from the

loan by Regions Bank.

       46.    Thus, as of January 1, 2007, Freeport 860, LLC and the entirety of the

Regions Bank loan were fully controlled by Defendant.

        B.    Orchestrated Default and Re-Purchase of Regions Bank Loan
              Through Shell Companies and Straw Man

        47. In approximately 2010, Freeport 860, LLC defaulted on the Regions

Bank note.

        48. Defendant repeatedly tried, without success, to negotiate a reduction in

the principal balance owed on the note held by Regions Bank.

        49.   On November 19, 2010, Freeport 860, LLC renewed the note via a

First Mortgage Modification Agreement. The new loan was broken into two parts:

Renewal Note A and Renewal Note B.



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         50. Renewal Note A was a Renewal Promissory Note executed by Freeport

860, LLC and payable to Regions Bank in the principal amount of $5,072,000.

Renewal Note B was a Renewal Promissory Note executed by Freeport 860, LLC and

payable to Regions Bank in the principal amount of $5,267,436.81. The aggregate

principal sum of Renewal Note A and Renewal Note B thus equaled the unpaid

principal balance of the prior note of $10,339,436.81. All security agreements,

including the personal guarantee signed by Defendant in an individual capacity,

applied to Renewal Note A and Renewal Note B (collectively, the “Renewal

Notes”).

         51. Shortly after the renewal, Freeport 860, LLC went into default on the

Renewal Notes.

         52. In spite of Defendant having funds available as further described

herein, neither Defendant nor his company Freeport 860, LLC paid Regions Bank

what it was owed. Instead, Defendant set in motion his scheme to deceive Regions

Bank.

         53. Having been convinced by Defendant that he could not repay the

loan, Regions Bank sold the now-defaulted Renewal Notes to HCB Financial

Corp. on December 21, 2011. The Renewal Notes were purchased at a substantial




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discount of approximately $5 million. The assignment was signed for by Fred

McLaughlin, HCB Financial’s Vice-President.

         54. Unbeknownst to Regions Bank, Fred McLaughlin—acting through a

company under his control, HCB Financial Corp.—was acting as a straw man on

behalf of Defendant.

         55. Defendant’s concealment of McLaughlin’s role as a straw man was a

material fact that he deliberately withheld from Regions Bank.

         56. In furtherance of the scheme, HCB Financial Corp. assigned the

Renewal Notes to HCB/Freeport Acquisition, LLC on the same day it acquired

them.     Fred McLaughlin signed both sides of the assignment—both as HCB

Financial’s Vice-President and as HCB/Freeport Acquisition, LLC’s Manager.

         57. HCB/Freeport Acquisition, LLC was a company formed by

Defendant on December 12, 2011, nine days before the straw purchase and

conveyance. The Managing Member of HCB/Freeport Acquisition, LLC, was

Sterling Diversified, LLC, a company controlled by Defendant.

         58. Defendant consequently controlled HCB/Freeport Acquisition, LLC,

and therefore also controlled the Regions Bank Renewal Notes.

         59. Having now acquired the Renewal Notes through a straw man on

December 12, 2011, and thereby eliminating Regions Bank’s lien on the property,


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Defendant sold 190 lots from the Hammock Bay Development for $4,577,000 on

February 9, 2012. Those lots were part of the collateral on the Regions note.

         60. Defendant was able to reap the proceeds of this sale only because he

had successfully deceived Regions Bank as to his ability to repay the notes.

         61. Thus, by deceiving Regions Bank as to (i) his ability to repay the

loans; (ii) the true value of the security for the loan; and, (iii) the use of a straw

man, Defendant orchestrated and completed the re-purchase of the same loan

from Regions Bank at a significantly reduced price.

         62. The information that Defendant used to deceive Regions Bank was

material to the bank in deciding how to resolve Defendant’s debt obligations.

        63.   This fraud caused losses to Regions Bank in excess of $5 million at a

time when the United States government held a $3.5 billion equity interest in the

bank.

        64.   Thus, Defendant directly defrauded the United States by way of the

Government’s ownership of equity in Regions Bank.

        65.   Moreover, Defendant also defrauded the United States by supplying

materially false statements and claims to Regions Bank—including but not

limited to Defendant’s scheme to conceal the role of the straw man and

Defendant’s own true financial worth.           This information and/or lack of


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information, in turn, was supplied to the United States by way of Regions Bank’s

TARP and CPP obligations.

      66.   Defendant thus caused Regions Bank to submit false records or

statements material to a false or fraudulent claim to the United States in

connection with the bank’s application for and continuing verification of use of

TARP funds.

      67.   Defendant’s scheme or artifice to defraud Regions Bank, even absent

an independent duty to disclose, constituted misleading or deceitful conduct

designed to conceal material information from the financial institution. Thus,

Defendant is liable under the False Claims Act.

                    SPECIFIC ALLEGATIONS AS TO FRAUD ON
                        CRE/ADC VENTURE 2013-1, LLC

       A.   Origination of the CRE/ADC Venture 2013-1, LLC Note and
            Mortgage

      68.   On January 17, 2007, Freeport 860, LLC—an entity controlled by

Defendant—obtained a $3,850,000 mortgage from GulfSouth Private Bank.

      69.   That same day, Defendant, in an individual capacity, executed a

personal guaranty on the full of amount of that $3,850,000 loan. That loan was

secured by lots in the Hammock Bay Development.




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      70.   In or about November 2013, Defendant defaulted on that note issued

by GulfSouth Private Bank.

      71.   By that time, due to financial issues with the bank, the Florida Office

of Financial Regulation had closed GulfSouth Private Bank and appointed the

FDIC as its Receiver.   In October 2013, the FDIC as Receiver assigned the note

to CRE/ADC.

       B.   Orchestrated Default and Debt Cancellation of CRE/ADC Venture
            2013-1, LLC Bank Loan Through Shell Companies and Straw Man

      72.   On September 15, 2016, CRE/ADC filed a foreclosure action against

Defendant and companies under his control.

      73.   Before Defendant’s default and during Defendant’s attempts to resolve

his outstanding debt—and unbeknownst to CRE/ADC—Defendant was enjoying

significant profits from other business transactions as further described herein.

Defendant concealed those profits and the resulting liquidity from CRE/ADC.

      74.   Defendant never paid the now-defaulted note despite those profits.

      75.   During this same time, Defendant used other corporate entities to

deceive CRE/ADC as to his ability to repay his loan and the value of the security he

had provided for the loan.

      76.   For example, on December 28, 2016, American Eagle Diversified,

LLC—a company under Defendant’s control—sold a lot in the Horseshoe Bend

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subdivision to Emerald Coast Premier Builders, LLC for $25,000. This was a sham

transaction designed to deceive CRE/ADC as to his ability to repay the loan.

Emerald Coast Premier Builders was managed by George D. Palmer, an associate of

Defendant. The purported $25,000 price was below market price and was designed

to disguise the true value of the other lots owned by companies controlled by

Defendant. The transaction was not an arms-length transaction. This transaction

was recorded while Defendant was trying to convince CRE/ADC that he could not

repay the loan and that they should sell the note at a discount.

      77.    On September 15, 2017, CRE/ADC Venture 2013-1, LLC sold the

GulfSouth loan to McLaughlin Properties, LLC—a company controlled by Fred

McLaughlin—at a substantial discount. McLaughlin was secretly acting as a straw

man for Defendant.

      78.    Had CRE/ADC known that McLaughlin was a straw man acting on

Defendant’s behalf, it would not have sold the loan as such. This was a material fact

that Defendant concealed from CRE/ADC.

      79.    On September 25, 2017, ten days after the CRE/ADC loan had been

sold to Defendant’s straw man, the straw man executed a full release and

cancellation of mortgage—thereby releasing Defendant from his financial

obligations under that loan.


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         80.   McLaughlin Properties, LLC was substituted as plaintiff in the pending

default action against Defendant on September 26, 2017, and dismissed the lawsuit

the very next day.

         81.   Thus, Defendant avoided liability on his debt to CRE/ADC Venture

2013-1, LLC through the use of the straw man, resulting in losses in excess of $1

million to CRE/ADC Venture 2013-1, LLC.

         82.   Approximately one month after the note had been sold to the straw

man, Defendant arranged for a company he controlled to purchase the Horseshoe

Bend lot back from Palmer for $35,000—$10,000 more than the original purchase

price.

         83.   At all times relevant, McLaughlin acted as a straw man on direction and

behalf of Defendant. Defendant concealed this information from CRE/ADC.

         84.   McLaughlin, through his corporate entity, purchased the defaulted

GulfSouth note from CRE/ADC Venture 2013-1, LLC at a discounted price and then

cancelled that debt.

         85.   Had CRE/ADC Venture 2013-1, LLC not been deceived as to the true

net worth of Defendant and the role of the straw man, it would not have sold the

defaulted loan on such favorable terms.




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      86.    These actions directly resulted in losses of more than $1 million to

CRE/ADC Venture 2013-1, LLC and, in turn, the United States by way of the

Government’s involvement in that venture.

      87.    Defendant also defrauded the United States by supplying false

statements and claims to CRE/ADC—including but not limited to concealing the

straw man. Defendant thus caused CRE/ADC to submit false material records or

statements material to a false or fraudulent claim to the United States in

connection with FDIC’s control of CRE/ADC.

      88.    Defendant’s scheme or artifice to defraud CRE/ADC Venture 2013-

1, LLC, even absent an independent duty to disclose, constituted misleading or

deceitful conduct designed to conceal material information from the financial

institution. Thus, Defendant is liable under the False Claims Act.

            EVIDENCE OF DEFENDANT’S TRUE FINANCIAL CAPACITY
                      DURING RELEVANT TIME FRAME

      89.    Defendant’s true net worth and liquidity was significantly more than

he was reporting to Regions Bank or CRE/ADC during the relevant time period of

2011 through 2017.

      90.    During this period, Defendant concealed his true financial

information and did not fully pay his debt obligations to Regions Bank and

CRE/ADC. Thus, despite being able to satisfy outstanding obligations, Defendant

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remained in default and caused Regions Bank and CRE/ADC to sell the loans at

significantly discounted prices—acts that the banks would not have taken but for

Defendant’s fraud.

       91.   For example, on August 31, 2011, Defendant, through an entity he

controlled, closed on the sale of his Uptown Station property in Okaloosa County

for approximately $27 million. Defendant paid off six mortgages on the Uptown

Station property with original balances of approximately $17 million during that

same time.

       92.   On February 9, 2012, Freeport 860, LLC closed on the sale of 190

lots in the Whispers and Passages Subdivisions with D.R. Horton, Inc. for

$4,577,000. Those 190 lots were part of the collateral for the Regions Bank note

that was assigned to HCB Financial Corp. and then to HCB/Freeport Acquisition,

LLC.

       93.   On July 21, 2014, Crystal Beach Development Company of Northwest

Florida—wholly owned by Defendant—closed on a sale for real property in Fort

Walton Beach, Florida for $13,300,000. The company originally purchased that

same property in 2000 for $2,105,000.

       94.   On September 29, 2016, Genre Holdings, LLC—a company wholly

owned by Defendant—closed on a sale for real property in Walton County, Florida


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for $7,632,000.       The company originally purchased the property in 1998 for

$700,000, and Defendant borrowed $2 million against the property in April 2016.

Thus, Defendant’s company obtained substantial profits from that transaction.

                   DEFENDANT’S REWARDS TO STRAW MAN

       95.      Fred McLaughlin was rewarded by Defendant for his participation.

       96.      On February 20, 2012, McLaughlin purchased a lot in Hammock Bay

for $8,000 from a company controlled by Defendant, Medallion Land Holdings,

LLC.

       97.      This $8,000 purchase price was significantly less than the prices at

which Defendant was selling lots to other entities.           Defendant knew this

information and purposefully intended to reward McLaughlin for his participation

in the fraud described herein.

       98.      On May 31, 2013, McLaughlin sold the same lot to Holiday Builders,

Inc. for $18,000. He thus turned a $10,000 profit.

                                      COUNT ONE

                     Reverse False Claims as to Regions Bank,
          in Violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(G)

       99.      Qui Tam Plaintiff repeats and re-alleges paragraphs 1–98 as if fully set

forth herein.



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      100. Defendant knowingly made, used, or caused to be made or used, a false

record or statement material to an obligation to pay or transmit money to the

Government, or knowingly concealed or knowingly and improperly avoided or

decreased an obligation to pay or transmit money or property to the Government in

violation of 31 U.S.C. § 3729(a)(1)(G) through his actions related to Regions Bank

as described supra.

      101. Because Defendant knowingly made, used, or caused to be made or

used, a false record or statement material to an obligation to pay or transmit money

to the Government, or knowingly concealed or knowingly and improperly avoided

or decreased an obligation to pay or transmit money or property to the Government,

the United States suffered damages.

      102. Defendant is therefore liable to the United States for treble damages

under the False Claims Act, in an amount to be determined at trial, plus a civil

penalty as determined by statute for each false claim presented or caused to be

presented by Defendant.

                                  COUNT TWO

                       False Statements as to Regions Bank,
          in Violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(B)

      103. Qui Tam Plaintiff repeats and re-alleges paragraphs 1–98 as if fully set

forth herein.

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      104. Defendant knowingly made, used, or caused to be made or used, a false

record or statement material to a false or fraudulent claim in violation of 31 U.S.C. §

3729(a)(1)(B) through his actions related to Regions Bank as described supra.

      105. Because Defendant knowingly made, used, or caused to be made or

used, a false record or statement material to a false or fraudulent claim, the United

States suffered damages.

      106. Defendant is therefore liable to the United States for treble damages

under the False Claims Act, in an amount to be determined at trial, plus a civil

penalty as determined by statute for each false claim presented or caused to be

presented by Defendant.

                                  COUNT THREE

          Reverse False Claims as to CRE/ADC Venture 2013-1, LLC,
         in Violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(G)

      107. Qui Tam Plaintiff repeats and re-alleges paragraphs 1–98 as if fully set

forth herein.

      108. Defendant knowingly made, used, or caused to be made or used, a false

record or statement material to an obligation to pay or transmit money to the

Government, or knowingly concealed or knowingly and improperly avoided or

decreased an obligation to pay or transmit money or property to the Government in



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violation of 31 U.S.C. § 3729(a)(1)(G) through his actions related to CRE/ADC

Venture 2013-1, LLC as described supra.

      109. Because Defendant knowingly made, used, or caused to be made or

used, a false record or statement material to an obligation to pay or transmit money

to the Government, or knowingly concealed or knowingly and improperly avoided

or decreased an obligation to pay or transmit money or property to the Government,

the United States suffered damages.

      110. Defendant is therefore liable to the United States for treble damages

under the False Claims Act, in an amount to be determined at trial, plus a civil

penalty as determined by statute for each false claim presented or caused to be

presented by Defendant.

                                  COUNT FOUR

             False Statements as to CRE/ADC Venture 2013-1, LLC,
          in Violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(B)

      111. Qui Tam Plaintiff repeats and re-alleges paragraphs 1–98 as if fully set

forth herein.

      112. Defendant knowingly made, used, or caused to be made or used, a false

record or statement material to a false or fraudulent claim in violation of 31 U.S.C. §

3729(a)(1)(B) through his actions related to CRE/ADC Venture 2013-1, LLC as

described supra.

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      113. Because Defendant knowingly made, used, or caused to be made or

used, a false record or statement material to a false or fraudulent claim, the United

States suffered damages.

      114. Defendant is therefore liable to the United States for treble damages

under the False Claims Act, in an amount to be determined at trial, plus a civil

penalty as determined by statute for each false claim presented or caused to be

presented by Defendant.

                                PRAYER FOR RELIEF

      WHEREFORE, the Qui Tam Plaintiff demands and prays that judgment be

entered in favor of the United States as follows:

          1.   On Counts One, Two, Three, and Four, against Defendant for the

amount of the United States’ damages, trebled as required by law, and such civil

penalties as are required by law, together with such further relief as may be just and

proper;

          2.   An award to the Qui Tam Plaintiff for collecting the civil penalties and

damages;

          3.   Award of an amount for reasonable expenses necessarily incurred;

          4.   Award of the Qui Tam Plaintiff’s reasonable attorneys’ fees and costs;

          5.   Interest; and,


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           6.   Such further relief as the Court deems just.

                                    JURY REQUEST

      The Qui Tam Plaintiff requests a jury by trial for all issues that may be tried

by jury.



                                          Respectfully submitted,


                                          /s/ David L. McGee
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